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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-CR-589 (TFH)
                                             :
JOSEPH IRWIN,                                :
                                             :
                                             :
                      Defendant.             :

                        DEFENDANT’S WAIVER OF JURY TRIAL

       Comes the Defendant, Joseph Irwin, by counsel, and pursuant to Rule 23 of the Federal

Rules of Criminal Procedure, waives a jury trial herein.


                                             /s/ Chastity R. Beyl
                                             Federal Defender
                                             200 Theatre Building
                                             629 Fourth Avenue
                                             Louisville, Kentucky 40202
                                             (502) 584-0525

                                             Counsel for Defendant.


                                        CERTIFICATE

        I hereby certify that on November 14, 2022, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to the
attorneys of record.


                                             /s/ Chastity R. Beyl
